DETROPEPOLICE DEPARTMENT CRIME oe 25e Hed 04/07/15" Page Tor 10

REPORT

Case No. 1309050261
Report No. 1309050261.2
Report Date: 9/10/2013

DETROIT POLICE DEPARTMENT

Arreste A James Prat? 1
Lafayette ILecycling

Page 1 of 4

Subject

Case Report Status
County
Clty/Township

Occurred On

{and Between}
Location

Csz

Census/Geo Coda
Grid

Call Source

Venicle Activity
Vehicle Traveling
Cross Streat

Means

Other Means
Motive

Other Motives

Report Narrative

NeiRMS_MICR rf v2f

02/4918/EXECUTION OF SEARCH WARRANT/(1) ARREST

A- APPROVED Date Entered = 9/10/2013 3:23:00 PM Reporting Officer oe
82 - WAYNE Entered By 234398 - MCKAY, REBECCA 234398 - MCKAY, REBECCA
99 - DETROIT Date Verified 9/10/2013 11:36:23 PM

Verified By 230108 - JOHNSON, DENNIS Assisted By
9/10/2013 1:15:00 PM Date Approved 9/5/2014 5:24:10 PM

Approved By 235984 - WORBOYS, KURT

7700 DIX Connecting Gases Assist Agency

Disposition ARREST DTE ENERGY
5240 Tactical Actions
SW5 - 0205 Claaranca Reason

Cale of Clearance

Reporting Agency §=BDETROIT POLICE DEPARTMENT

Division =PETROIT POLICE DEPARTMENT
Notified

NO FORCE USED

MCKAY S397 4918

A: JAMES PRATT (REFER TO OFFENDER SECTION)
3S: EXECUTION OF SEARCH WARRANT

Cc: |, SGT. REBECCA MCKAY OF THE GENERAL ASSIGNMENT UNIT WITH INVESTIGATOR DEREK HASSAN AND DTE
LINEMAN OF OTE ENERGY WENT TO LAFAYETTE RECYCLING AT 7700 DIX. | WAS ARMED WITH A SEARCH WARRANT TO
SEIZE MATERIAL THAT | HAD ORDERED THE OFFENDER TO SET ASIDE ON 9-3-2013 DURING AN INSPECTION OF THE
SCRAP YARD. UPON ARRIVAL I WALKED INTO THE OFFICE AREA AND SPOKE TO CHRISTINA BUSSELL, THE OFFICE
MANAGER, I.ASKED HER TO GET OFF PRATT OFF OF THE SCALE FLOOR SO THAT | COULD DISCUSS THE PURPOSE FOR
MY VISIT. OFF PRATT CAME INTO THE OFFICE AND LOOKED OVER THE DOCUMENT BRIEFLY. | TOLD HIM THERE WAS A
LINE TRUCK FROM DTE ENROUTE TO TAKE CONTROL OF THE COPPER WIRE THAT I HAD ORDERED HIM TO SET ASIDE
§-3-2013 (IT SHOULD BE NOTED THAT THE BINS CONTAINED #2, #6 AND 4/0 DTE COPPER WIRE). OFF PRATT SHOOK HIS
HEAD AND HEADED INTO THE SCALE AREA WITH ME FOLLOWING HIM. 1] WALKED TO THE SCALE WHERE | LOOKED
THROUGH THE THEFT ALERTS HE HAD ON THE CLIP BOARD AND DISCOVERED ONE THAT WAS ISSUED BY DTE
CORPORATE INVESTIGATOR DEREK HASSAN ON 7-11-2013 @ 4:00PM FOR 500 FEET OF #6 COPPER WIRE AND 200 FEET
OF #2 COPPER WIRE. HASSAN INCLUDED A PHOTO OF THE WIRE IN HIS THEFT ALERT. HASSAN ALSO ADDED THAT
THERE HAS BEEN A RASH OF THESE SAME TYPE THEFTS AND FURTHER DESCRIBED A BLUE CHEVY LUMINA VAN AND
TEAL GHEVY ASTRO VAN THAT MAY BE INVOLVED IN THE THEFTS.

AFTER A FEW MINUTES | ASKED OFF PRATT TO PLEASE HAVE HIS MEN PLACE THE DTE PROPERTY OUTSIDE FOR THE
DTE CREW TO LOAD ON THEIR TRUCK. | GLANCED IN THE AREA THAT | HAD RECALLED THE MATERIAL HAD BEEN
PLACED BY THE HI-LO DRIVER ON 9-3-2013. | HAD OBSERVED THE DRIVER TAKE THE COPPER WIRE FROM THE EAST
SIDE OF THE WAREHOUSE AND MOVE IT TO THE WEST SIDE OF THE WAREHOUSE. ON THAT DAY. | DID NOT SEE THE
MATERIAL IN THAT AREA TODAY. SO | ASKED OFF PRATT WHERE THE MATERIAL WAS THAT | ORDERED HIM TO HOLD. |
ADVISED HIM ON 9-3-2013 THAT THE MATERIAL WAS THE PROPERTY OF DTE ENERGY, OFF PRATT WALKED HASSAN
AND ME TO TWO BINS OF COPPER TUBING AND POINTED TO THEM STATING "THERE THEY ARE". | LOOKED AT OFF
PRATT AND LAUGHED AND STATED "THAT WAS NOT THE COPPER WIRE | ORDERED YOU TO SET ASIDE SIR". HE THEN
REPONDED WHILE LOOKING AWAY AND AVOIDING EYE CONTACT, "THIS IS WHAT YOU TOLD ME TO SAVE." | ASKED
OFF PRATT ONE MORE TIME WHERE THE MATERIAL WAS THAT I ORDERED HIM TO SET ASIDE ON 9-3-2013. HE
REFUSED TO TELL ME WHERE IT WAS LOCATED. | PLACED OFF PRATT UNDER ARREST. OFF PRATT POSSESSED TWO
CELL PHONES WHICH | PLACED ON EVIDENCE FOR FUTURE INVESTIGATION CONNECTING OFF PRATT TO THE
ONGOING CONSPIRACY INVESTIGATION STILL PENDING.

| REQUESTED A SCOUT CAR TO MY LOGATION TO CONVEY OFF PRATT TO #2 AND 2-31 RESPONDED, MANNED BY
OFFICER SIMONS AND OFFICER SPIDELL OF THE SECOND PRECINCT. WHILE WAITING FOR THE SCOUT CAR TO ARRIVE,
| WALKED OFF PRATT TO THE OFFICE AREA TO SIT WHERE IT WAS COOL. WHILE WAITING THE OFFICE MANAGER,
CHRISTINA BUSSELL RECEIVED A PHONE GALL FROM HER CORPORATE OFFICE. THEY ADVISED ME THAT THEY HAVE
THE COPPER WIRE | WAS LOOKING FOR AT THEIR FACILITY IN FLINT. THEY ADVISED ME THAT THEY WOULD DELIVER
THE MATERIAL BACK TO 7700 DIX IN THE MORNING ON 9-11-2013. | OBTAINED A VIDEO FROM BUSSELL FOR CAMERA

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Printed: April 7, 2015 - 11:50 AM

DETROIT POLICE DEPARTMENT CRINE (oe-459_ Filed 0407715 Page Z of TO
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WHICH SHOWS THE WAREHOUSE AREA. THE VIDEO WAS BURNED TO A DVR FOR THE PERIOD OF TIME THAT I WAS IN
THE SCRAP YARD DURING THE INSPECTION. | ALSO RECEIVED A PHOTOGRAPH FROM THE CORPORATE OFFICE WHICH
APPEARS TO BE DTE WIRE, BUSSELL VOLUNTARILY HANDED OVER THE SHIPPERS FOR 9-4-2013 AND 9-10-2013 WHICH
SHOW THE MATERIAL THAT HAS BEEN SHIPPED FROM LAFAYETTE TO FLINT LORBEC CO.

I WAS ADVISED BY MATT CONNER THAT THE VIDEO AND.STILL PHOTOS ORDERED IN THE SEARCH WARRANT WOULD

BE READY FOR PICK UP 9-4-2013 BY 1PM.

| RECEIVED A PHONE CALL FROM 248-894-4786 BY A MAN IDENTIFYING HIMSELF AS THE ATTORNEY REPRESENTING
LORBEC AND LAFAYETTE RECEYCLING. HE ADVISED ME THAT OFF PRATT WAS ACTING ALONE IN THESE PURCHASES

AND THE COMPANY HAD NO IDEA.

T: ET#E43215604: (1) BLK/SLVR MOTOROLLA VERIZON CELL PHONE

ET#E43215604: (1) BLACK I- PHONE

Offense Detail: 4804 - EVIDENCE DESTROYING

Offense Description
IBR Code

IBR Group

Crime Against
Offense File Class
PACC

Local Code

Using
Criminal Activity
Weapons

4804 - EVIDENCE DESTROYING

90Z - ALL OTHER OFFENSES Location
B Offense Completed?
Hate/Bias

Domestic Violence

48000 - OBSTRUCTING POLICE

Offense Detail: 2803 - STOLEN PROPERTY - RECEIVING

34 - SCALE SITE
YES .

00 - NONE (NO BIAS)
NO

No. Prem. Entered
Entry Method
Type Security

Tools Used

Offense Description
IBR Coda

2803 - STOLEN PROPERTY - RECEIVING
280 - STOLEN PROPERTY

Location

34 - SCALE SITE

OFFENSES

IBRGroup =A Gtlensa Compleled? YES No. Prem. Entered
Crimea Against = PR Hate/Bias = 0» NONE (NO BIAS) Entry Method
Offense File Class 98000 - STOLEN PROPERTY Domestic Viclenca =NO Type Security
PACC Tools Used

Local Coda

Using

Criminal Activity = - BUYING/RECEIVING
Weapons
Arrestee A1: PRATT, JAMES ALLAN
Amestea Number = AT DOB 6/4/1953 Place of Birth
Name PRATT, JAMES ALLAN Age 60 SSN
AKA Sex M-MALE BLN
Alart{s) Race B- BLACK DLN State
Ethaicly UU. UNKNOWN BLN Country
Address 12048 Edwards HL. g74"™ Ococupation/Grade
cSZ_ MONTROSE We 295 Employer/School LAFAYETTE
RECYCLING
Eye Colr =BRO - BROWN Employer Address 7700 Dix

Home Phone Hair Color = BLK - BLACK Employer C52
Work Phone Hair Styla Ss S - STRAIGHT Ras, County
Emall Address HalrLength Wi+- MEDIUM Ras. Country

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Paga 3 of 4

Facial Hair Resident Status =§ . RESIDES IN THE
STATE BUT NOT THE
COUNTY OR
COMMUNITY WHERE
THE OFFENSE
OCCURRED

Complexion DBR - DARK BROWN
Build =. - LARGE
Testh 3+ MISSING

Scars/Marks/Taltoos
Modus Operandi
Other MG
Attire BLUE WORK CLOTHES
Habitual Offender
Status
ArestNo, 254213 Arrested For 4804 - EVIDENCE DESTROYING
2803 - STOLEN PROPERTY - RECEIVING
Arrest Type = - TAKEN INTO CUSTODY Count
Force Level O41 -LEVEL 1 Fingerprints Armested On 9/10/2013 1:15:00 PM
FBI No. Phatos Arrest Location 7700 DIX
State No, Miranda Read Booked On
Arned With = 04. UNARMED Miranda Walved Booked Location

Multi. Clearance

N - NOT APPLICABLE

Number of Warrants

Released Location

Multi, Clearance Released On
Offense
Prav. Suspect No. Released By
Juvenile Disposition Release Reason
Notified Adult Presant Held For
Ares! Notes
Victim V1: [E] DIE ENERGY
Vicim Coda 4 Victim OF 4804 - EVIDENCE DESTROYING
Victim Type = B ~ BUSINESS 2803 - STOLEN PROPERTY - RECEIVING
Name [FE] DTE ENERGY DOB Place of Birth
AKA Age SSN
Alert(s) Sex DLN
Race DLN State
Address | Energy Plz Ethnicity DLN Country
esz Ht. Occupation/Grade
Wt Employei/Schoo!
Home Phone Eyes Color Employer Address
Work Phone 343 235-7733 Hair Color Employer G52
Email Address Facial Hair Res, Gounly
Complexion Res. Country
Attire Rasident Status
Injury Testify
Circumstances
Caw Enforcament Type Justifiable Homicida
Officer Killed or Assignment Clreumstances
Assauited ..
Information Activity
Other ORI
Victim Offander Relationships
Offander Relatlanship
Victim Notes DEREK HASSAN

Property Description Item 1: 9911 - METALS (BRASS, COPPER, ETC) - DTE COPPER WIRE

Item No. 4

Property Category §=9911 - METALS (BRASS, COPPER, ETC}

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Properly Class = 9g
IBR Type 77 ~ OTHER
UCRType ~=K - MISCELLANEOUS
Stalus =D - DESTROYED/DAMAGED/VANDALIZED

Count 4
Value «40014
Manufacturer
Model '
Serial No.
License No.
Color :
Description DTE COPPER WIRE
Vehicle Year
Bedy Style
State
License Year

Recovered Date/Time

Owner YM - [E] DTE ENERGY
Dispesition
Evidence Tag
Lock Seals
Evidence Recevered Date/Time
Evidence Recovered By
Evidence Recevered From
Evidence Location
Aleri(s)

Drug Type
Drug Quantity
Drug Measure

Property Netes: t

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Report No. 1309050261.3
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Subject:

Case Report Status
County
City/Township

Occurred On

(and Between)
Location

csz

CensusiGeo Code
Grid

Call Sources

Vehicle Activity
Vehicle Traveling
Cross Street

Maans

Other Means
Mative

Other Motives

Report Narralive

02/4918/SCRAP YARD INSPECTION/NO ARRESTS

§ - SUBMITTED Dale Entered
82 - WAYNE Entered By
99 - DETROIT Dale Verified
Verified By

9/10/2013 1:15:00 PM Date Approved
Approved By

7700 DIX Connecting Casas
Disposition

§240 Tactical Actions
SW5 - 0205 Clearance Reason
Date of Clearance

Reporting Agency

Division

Notlfied

PO SPIDELL #402
PO SIMONS #394

NO FORCE USED

A: YES- (1) PRATT, JAMES ALLAN B/M/6/1/1953

9/10/2013 5:59:37 PM

235729 - SPIDELL, DEITRICH

ACTIVE

Reporting Officar
234398 - MCKAY, REBECCA -

Assisted By
235724 - SIMONS, TIMOTHY

Assist Agency
DTE ENERGY

DETROIT POLICE DEPARTMENT
DETROIT POLICE DEPARTMENT

$: RESPOND TO DISPATCH CALL FOR CAR FOR CONVEYANCE

C: ON THE LISTED DATE AND TIME | RESPONDED TO A RADIO POLICE RUN FOR A CONVEYANCE. | MADE 7700 DIX AND
SPOKE TO CODE 4918, SGT MCKAY. SHE ADVISED ME THAT THE LISTED OFFENDER MR. PRATT WAS UNDER ARREST
FOR EVIDENCE DESTROYING, RCSP. | THEN CONVEYED MR. PRATT TO #2 WITHOUT INCIDENT.

0: ABV FACTS
T: NONE

Offense Detail: 4804 - EVIDENCE DESTROYING

Offense Description
IBR Cade

IBR Group

Crime Against
Offensa Fila Class
PACG

Local Code

Using
Criminal Activity
Weapons

4804 - EVIDENCE DESTROYING

§$02Z - ALL OTHER OFFENSES Location

B Offense Completed?
Hate/Bias

Domestic Violence

43000 - OBSTRUCTING POLICE

Offense Detail: 2803 - STOLEN PROPERTY - RECEIVING

34 - SCALE SITE
YES

00 - NONE (NO BIAS)
NO

No. Prem. Entered
Entry Method
Type Security

Tools Usad

Offense Description
IBR Code

BR Group

Crime Against
Offense File Class
PACGG

Local Coda

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2803 - STOLEN PROPERTY - RECEIVING

280 - STOLEN PROPERTY Location
OFFENSES

A Offense Completed?
PR Hate/Bias

28000 - STOLEN PROPERTY

Domastic Violence

34 - SCALE SITE

YES
00 - NONE (NO BIAS)
NO

No. Prem, Entered
Entry Method
Type Security
Tools Used

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Report No
Report Date

Case No.

1309050261
. 1309050261.3
: 9/10/2013

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REPORT

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Using
Criminal Activity
Weapons

Arrestee A1:

B - BUYING/RECEIVING

PRATT, JAMES ALLAN

Arrestes Number 4 DOB 4/1/1953 Place of Birth
Name PRATT, JAMES ALLAN Age 60 SSN
AKA Sex f- MALE DLN
Alart(s) Race B-BLACK DLN State
Ethnicity (J. UNKNOWN BLN Country
Address 120483 Edwards HE gt 4" Occupation/Grade
csZ MONTROSE We 226 EmployerSchoot LAFAYETTE
RECYCLING
EyeGolor BRO - BROWN Employer Address 7700 Dix
Home Phone Hair Color ~=§ BLK - BLACK Employer CSZ
Work Phone Hair Style = § - STRAIGHT Res. County
Email Address HairLengh (- MEDIUM Ras, Country
Facial Hair Resident Status = . RESIDES IN THE
STATE BUT NOT THE
COUNTY OR
COMMUNITY WHERE
THE OFFENSE
OCCURRED
Complexion DBR - DARK BROWN
Build ~L-LARGE
Teath 3.MISSING
Scars/Marks/Taltoos
Modus Operandi
Other MO
Attwe BLUE WORK CLOTHES
Habitual Offender
Status
ArrestNo, 254213 ArasiedFor 4804 - EVIDENCE DESTROYING
2803 - STOLEN PROPERTY - RECEIVING
Arrest Type = T - TAKEN INTO CUSTODY Count
Force Level 4 - LEVEL 1 Fingerpeints AvastedOn 9/40/2013 1:15:00 PM
FBINo. Pholos Arrest Location 7700 DIX
State No. Miranda Read Booked On
AmedWith Of - UNARMED Miranda Waived Booked Location
Mult. Clearance =f - NOT APPLICABLE Number of Werrants Released Location
Multi, Clearance Released On
Offense
Prev. SuspectNo. 4 Released By
Juyerile Dispositian Release Reason
Notified Adult Present Held For
Arrast Notes
Victim V1: [E] DTE ENERGY
Victin Code V4 Victim Of ~=4804 - EVIDENCE DESTROYING
Victim Type = B - BUSINESS 2803 - STOLEN PROPERTY - RECEIVING
Name [E] DTE ENERGY poB Place of Birth
AKA Age SSN
Alart(s) Sex DEN
Race BLN State
Address =f Energy Plz Ethnicity DLN Country
Cs8zZ Ht Occupation/Grada
Wt Employer/School
Home Phone Eye Color Employer Address
Work Phone 343 235-7733 Hair Gofor Employer CSZ
Email Addrass Fada! Halr Ras. County

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REPORT

DETROIT POLICE DEPARTMENT

Case No. 1309050261
Report No. 1309050261.3
Report Date: 9/10/2013
Paga 3 of 3
Complexion Ras, Gouniry
Attire Rasident Status
Injury Testify
Circumstances
Law Enforoemant Typa Justitable Homicide
Officer Killed or ‘ rcumstances
Assaulted Assignment
Information Activity
Other ORI

Victim Offender Relationships

Offender

Victim Netes

Relationship

Property Description Item 1: 9911 - METALS (BRASS, COPPER, ETC) - DTE COPPER WIRE

Property Category

ltam No. =

Property Class BB ,

IBRType §=77 ~- OTHER

UCR Type K-MISCELLANEOUS

9911 - METALS (BRASS, COPPER, ETC}

Status =D - DESTROYED/DAMAGED/VANDALIZED

Count 4
Value =. 1001

Manufacturer

Model
Serial No.
License No.
Color

Description DTE COPPER WIRE

Vehicle Year
Body Style
State

License Year

Recovered Date/Time

Owner V4 « [E] DTE ENERGY

Disposition

Evidence Tag

Lock Seals

Evidence Racovered Date/Time
Evidence Recovered By
Evidence Recoverad From
Evidence Location

Alari(s}

Drug Type

Drug Quaritity
Drug Maasure

Property Nol

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tes

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REPORT

Case No. 1309170140

Arrest at Marsha l/

Report No. 1309170140.1 wilrern

Report Date: 9/17/2013

Nedrat Len & Medal

DETROIT POLICE DEPARTMENT

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Subject’ 04-04-4140-FEL WARR-1 ARR

Case Report Status =A - APPROVED Date Entered

County @2-WAYNE Entered By
City/Township 99 - DETROIT Date Verified
Verified By

Oecuved On 9/47/2013 10:45:00 AM Date Approved

{and Between)

Location 83200 DIX
€8Z DETROIT, Ml 48209.
Gansus/Geo Code 85944

Grid SW6 - 0206

Approved By
Connecting Cases
Disposition
Tactical Actions
Clearance Reason

Call Source Dale of Ciearanca
Reporting Agency DETROIT POLICE DEPARTMENT
Vehicle Activily Division 2nd/Southwest District
Vehicle Traveling Notified SGT. MCKAY, COPPER TASK
FORCE
Cross Street
Means
Other Means
Motive
Other Motives
Report Navatve POJOSEPH ANTHONY 27
PO MICHAEL DOWDY 1274 "NO FORCE USED****

9/17/2013 2:41:24 PM
236677 - ANTHONY Ill, JOSEPH

9/17/2013 7:50:07 PM
184241 - WYATT, VANESSA
9/18/2013 2:22:37 AM
180938 - YEE, RAYMOND

ARREST

Reporting Officer

236677 - ANTHONY III,
JOSEPH ©

Assisted By
236782 - DOWDY, MICHAEL

Assist Agency

A: YES; MARSHALL WILSON, BM, 08-11-57, OF 14312 SALEM, REDFORD ML., TX: (313}841-5550

$: WE RECEIVED INFORMATION FROM SGT MCKAY OF COPPER TASK FORCE THAT MR WILSON, (A1) WAS WANTED ON
A FELONY WARRANT FOR BUYING AND SELLING STOLEN NON FERROUS METALS OUT OF 36TH DISTRICT COURT,

WARR#1306120328, DATE OF WARRANT 09-09-13.

C; WE MADE ABOVE LOCATION WHICH |S A BUSINESS, DETROIT IRON AND METAL COMPANY, AND OBSERVED MR
MARSHALL, WHO WAS AN EMPLOYEE THERE. WE TOOK MR MARSHALL INTO CUSTODY WITHOUT INCIDENT AND
CONVEYED HIM TO THE 2ND PRECINCT FOR PROCESSING.

OQ: ABV FACTS

T: NONE

Offense Detail: 4998 - FUGITIVE

Offense Description 4998 - FUGITIVE

IBRCode 907 - ALL OTHER OFFENSES Location = 5 - COMMERCIAL/OFFICE BUILDING
IBR Group B Offensa Completed? YES No, Prem, Entered
Crime Against Haie/Bias = 90 - NONE (NO BIAS) Entry Method
Offense File Class 49000 - ESCAPE/FLIGHT Domestic Violenca NO Type Security
PACG Tools Used
Local Code
Using
Criminal Activity
Weapons
Arrestee A1: WILSON, MARSHALL
Arrestea Number Aq DOR Off4diMgsy Place of Birth
Name WILSON, MARSHALL Age 56 SSN
AKA Sex M-MALE DLN
Atert(s) Race B.~ BLACK DLN State

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Report No. 1309170140.1
Report Daie: 9/17/2013

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Ethniciy O-OTHER DLN Country
ETHNICITY/NATIONAL
GRIGIN
Address 14312 Salem Ht, Occupation/Grada
csZ REDFORD Wt, Empioyer/School
EyaCokr BRO - BROWN Employer Addrass
Home Phone §=343 841-5550 Hair Color Employer CSZ
Work Phone Hair Styta Res, County WAYNE
Email Address Rair Length Res. County USA- UNITED
STATES OF AMERICA
Facial Hair Resident Status ¢-RESIDES IN THE
COUNTY BUT NOT
THE COMMUNITY
WHERE THE
OFFENSE OCCURRED
Complexion
Bulld
Teath
Scars/Marks/Tattoos
Modus Operandi
Other MO
Attire
Habitual Offender
Status
ArrastNo. 264574 ArrestedFor 4998 - FUGITIVE
Arest Typa = - TAKEN INTO CUSTODY Gount
Force Level §4 - LEVEL 1 Fingerprints Arrested On 9/47/2013 10:45:00 AM
FEI No. Photes Arrest Location
State No. Miranda Read Booked On
Armed With O41 -UNARMED Miranda Waived Booked Location
Mult Glearance =} - NOT APPLICABLE Number of Warrants Released Location
Multi. Clearance Released On
Offense
Prev, Suspect No, Released By
Juvenile Disposition Release Reason
Notified Adult Prasent Hald For
Arrest Notes
Victim V1:
Victim Code Yq Victim Of = 4998 - FUGITIVE
Victim Type-S - SOCIETY/PUBLIC
Name BOB Place of Birth
AKA Age SSN
Alert(s) Sex OLN
Race BLN State
Address Ethnicity DLN Country
CSZ Ht. Ococupation/Grade
Wit Employer/School
Homa Phone Eye Color Employer Address
Work Phone Halr Color Employer CSZ
Email Address Facial Hair Res. County
Complexion Res. Country
Attire Resident Status
Injury Tastify

Circumstances

Law Enforcement Type Justifiabie Homicide
‘Officer Killad or Assignment Circumstances.
Assaulted
Information =| Activily

Other ORI

Victim Offender Relationshins

Offander

NetRMS_MICR. rtf vef

Relationship

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Victim Notes

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